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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11   ANTHONY CAROLINO, et al.,                           Case No.: 3:20-cv-1535 W (DEB)
12                                     Plaintiffs,
                                                         ORDER (1) GRANTING MOTION
13   v.                                                  TO DISMISS [DOC. 13] AND
14                                                       (2) REQUIRING FURTHER
     CITY OF SAN DIEGO, et al.,
                                                         BRIEFING REGARDING
15                                   Defendants.         STANDING
16
17
18           Defendants City of San Diego, Jose Mendez and Brad Keyes move to dismiss and
19   strike. In response to the motion, Plaintiffs have filed a document entitled “CCP
20   Declaration of David Carolino in Support of his Standing to Bring this Action as the
21   Legal Heir of His Brother Dennis Carolino (CCP 337.32).” (D. Carolino Decl. [Doc.
22   14].)
23           The Court decides the matter on the papers submitted and without oral argument.
24   See Civ. L.R. 7.1(d.1). For the following reasons, the Court GRANTS the motion to
25   dismiss [Doc. 13] and ORDERS Plaintiffs to provide further briefing regarding their
26   standing to pursue wrongful death claims.
27   //
28   //

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 1   I.        FACTUAL BACKGROUND
 2             According to the First Amended Complaint, on August 24, 2019 at about 7:50
 3   p.m., Rose Dawson called 911 seeking assistance from the Psychiatric Emergency
 4   Response Team (“PERT”).1 (FAC [Doc. 11] ¶ 8.) Dawson reported that her nephew,
 5   Dennis Carolino (the “Decedent”), was “off his medications and had thrown a brick at
 6   her.”2 (Id.)
 7             Approximately 30 minutes later, Defendants San Diego Police Officers Jose
 8   Mendez and Brad Keyes responded and met Dawson at the front of her house. (FAC ¶
 9   9.) Dawson informed them that Dennis lived with her in a shed behind the house, was
10   mentally ill and off his medications. (Id.) The officers told Dawson that PERT had been
11   called and was on its way. (Id. ¶ 10.) The officers asked her to show them where Dennis
12   lived because they decided to get him out of the shed. (Id. ¶¶ 15, 16.)
13             Dawson led the officers to the back of the house and pointed out the small shed
14   where he lived. (FAC ¶ 15.) At the time, it was dark and the officers used their
15   flashlights to shine a light on the door of the shed. (Id.) The officers also told Dawson to
16   stand behind them. (Id. ¶ 16.) Dennis, apparently blinded by the officers’ flashlights,
17   exited the shed while carrying what the officers believed was a shovel, but turned out to
18   be “a stick or pole.” (Id. ¶ 17.) One of the officers yelled at Dennis to “drop it,” but he
19   did not. (Id.) One officer then fired his taser at Dennis, while the other officer fired five
20   or six shots from his service revolver, killing Dennis.3 (Id. ¶¶ 11, 18.)
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22
23
     1
      According to the FAC, PERT provides “emergency assessment and referral for individuals in
24   behavioral health crises who come to the attention of law enforcement agencies through telephone calls
25   or observation of police officers or others.” (FAC ¶ 13.)
     2
26    Generally, individuals are referred to by their last name. Because there are multiple members of the
     Carolino family involved in this motion, they will be referred to by their first name.
27
     3
         The FAC first alleges Dennis was shot five times (FAC ¶¶ 11, 12) and six times (see e.g. id. ¶¶ 18, 30).
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 1         Plaintiffs Anthony Carolino and David Carolino are Dennis’s biological brothers.
 2   (FAC 3:17–20.) According to the FAC, on January 17, 2020, they filed an administrative
 3   claim against Defendants “alleging civil rights violations by use of excessive force on
 4   Dennis Carolino, resulting in his death.” (Id. ¶ 23.) The City denied the claim on or
 5   about January 29, 2020. (Id. ¶ 24.)
 6         On July 2, 2020, Plaintiffs filed this lawsuit in the San Diego Superior Court
 7   asserting eight causes of action. On August 7, 2020, Defendants removed the case to this
 8   Court and then filed a motion to dismiss the Complaint. Among the issues Defendants
 9   raised was Plaintiffs’ standing to pursue survival and wrongful-death claims. (See Orig.
10   MTD P&A [Doc. 2-1] 4:24–7:24, 8:1–18.)
11         Plaintiffs filed an opposition to the motion which conceded the merits of many of
12   Defendants’ arguments, but sought leave to amend. (See Opp’n to Orig. MTD [Doc. 5].)
13   Regarding the survival claims, Plaintiffs conceded they lacked standing and represented
14   they did not intend to pursue any survival claims. (Id. 7:1–6.) As for the wrongful-death
15   claims, Plaintiffs sought leave to amend to clarify they were Dennis’s only surviving
16   heirs and beneficiaries and, therefore, had standing. (Id. 7:7–19.)
17         On March 10, 2021, this Court issued an order granting Defendants’ motion to
18   dismiss as follows:
19         1.     Plaintiffs’ survival claims are DISMISSED WITHOUT LEAVE TO
                  AMEND.
20
           2.     Plaintiffs’ wrongful death claims are DISMISSED WITH LEAVE
21                TO AMEND.
           3.     The claims for negligent infliction of emotional distress filed on
22
                  behalf of Rose Dawson is DISMISSED WITH LEAVE TO
23                AMEND.
24
     (MTD Order [Doc. 8] 6:4–9.)
25
           On March 24, 2021, Plaintiffs filed the FAC. On April 7, 2021, Defendants filed
26
     the current motion to dismiss the FAC or, alternatively, strike the request for punitive
27
     damages. In response, Plaintiffs filed a document entitled “CCP Declaration of David
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 1   Carolino in Support of his Standing to Bring this Action as the Legal Heir of His Brother
 2   Dennis Carolino (CCP 337.32).” (D. Carolino Decl.) Aside from this document,
 3   Plaintiffs did not file an opposition addressing any of the arguments raised in Defendants’
 4   motion.
 5
 6   II.   LEGAL STANDARD
 7         “It is well settled that federal courts may act only in the context of a justiciable
 8   case or controversy.” SEC v. Medical Committee for Human Rights, 404 U.S. 403, 407
 9   (1972) (quoting Benton v. Maryland, 395 U.S. 784, 788 (1969)). In order to invoke the
10   jurisdiction of the federal courts, a plaintiff “must satisfy the case or controversy
11   requirement of Article III by demonstrating his standing to sue at each stage of the
12   litigation.” Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 946 (9th Cir. 2011)
13   (citations omitted). To do so, “a plaintiff needs to provide only ‘a short and plain
14   statement of the grounds for the court’s jurisdiction.’ The plaintiff must allege facts, not
15   mere legal conclusions, in compliance with the pleading standards established by Bell
16   Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007), and
17   Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009).” Leite v. Crane
18   Co., 749 F.3d 1117, 1121 (9th Cir. 2014) (citing Harris v. Rand, 682 F.3d 846, 850–51
19   (9th Cir. 2012)).
20         Standing requires: “(1) an ‘injury in fact’ suffered by the plaintiff; (2) a causal
21   connection between the injury and the defendant’s conduct; and (3) a likelihood that the
22   injury will be ‘redressed by a favorable decision.’” Civil Rights Educ. and Enforcement
23   Center v. Hospitality Properties Trust, 867 F.3d 1093, 1098 (9th Cir. 2017) (citing Lujan
24   v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). “A plaintiff has sustained an injury
25   in fact only if she can establish ‘an invasion of a legally protected interest which is (a)
26   concrete and particularized; and (b) actual or imminent, not conjectural or hypothetical.”
27   Id. (citing Lujan, 504 U.S. at 560)).
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 1   III.   DISCUSSION
 2          A.    Failure to Oppose.
 3          Civil Local Rule 7.1(f.3.c) provides that “[i]f an opposing party fails to file papers
 4   in the manner required by Local Rule 7.1(e)(2), that failure may constitute a consent to
 5   the granting of that motion or other ruling by the court.” The Ninth Circuit has held that
 6   a district court may properly grant a motion to dismiss for failure to respond. See
 7   generally Ghazali v. Moran, 46 F.3d 52, 53 (9th Cir. 1995) (per curiam) (affirming
 8   dismissal for failure to file timely opposition papers where plaintiff had notice of the
 9   motion and ample time to respond).
10          Here, Plaintiffs did not file an opposition disputing Defendants’ arguments.
11   Instead, Plaintiffs filed a document purporting to be a declaration under California Code
12   of Civil Procedure § 377.32. For the reasons set forth in Defendants’ Reply, the
13   document is not a valid declaration and does not comply with the requirements of
14   California law. (See Reply [Doc. 16] 4:5–5:25.) Accordingly, Plaintiffs have effectively
15   failed to oppose Defendants’ motion.
16          Relying on Civil Local Rule 7.1(f.3.c), the Court deems Plaintiffs’ failure to
17   oppose Defendants’ motion as consent to the merits. For this additional reason, the Court
18   will grant Defendants’ motion to dismiss.
19
20          B.    Plaintiffs lack standing to pursue survival claims.
21          Defendants argue the first, second, third, fourth, sixth and seventh causes of action
22   are survival claims that should be dismissed because: (1) this Court previously dismissed
23   the survival claims without leave to amend; (2) Plaintiffs failed to plead facts
24   demonstrating standing to pursue survival claims; (3) Plaintiffs failed to exhaust
25   administrative remedies; and (4) Plaintiffs failed to comply with California’s statutory
26   requirements for survival claims. (P&A [Doc. 13-1] 6:22–10:5.)
27          As discussed above, in response to Defendants’ previous motion to dismiss,
28   Plaintiffs represented that they did not intend to pursue survival claims. As a result, the

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 1   order dismissing the Complaint did not grant Plaintiffs leave to amend to assert survival
 2   causes of action. Thus, Plaintiffs attempt to include survival claims in the FAC exceeded
 3   the scope of the grant of leave to amend in the Dismissal Order.
 4          Moreover, under California Code of Civil Procedure § 337.32, “a person who
 5   seeks to commence an action … as the decedent’s successor in interest under this article
 6   shall execute and file an affidavit or declaration under penalty of perjury” which contains
 7   specific information. Here, Plaintiffs have failed to file a declaration satisfying section
 8   337.32.
 9          Finally, in order to sue the City, Plaintiffs must exhaust their administrative
10   remedies. Cal. Gov’t Code §§ 911.2, 945.4. Where claimants suffer separate and distinct
11   injuries, one claimant may not rely on a claim presented by the other. Nguyen v. Los
12   Angeles County Harbor/UCLA Medical Center, 8 Cal.App.4th 729, 733–34 (1992).
13   Because Plaintiffs only alleged satisfying the administrative claim requirement with
14   respect to their individual claims, the FAC fails to satisfy this requirement for any
15   survival claims.
16          For all these reasons, the Court will dismiss the survival claims—the first, second,
17   third, fourth, sixth and seventh causes of action—without leave to amend.
18
19          C.      The FAC fails to state a claim for negligent infliction of emotional
20                  distress.
21          Plaintiffs’ fifth cause of action is for negligent infliction of emotional distress.
22   Defendants argue this claim must be dismissed because the FAC’s allegations establish
23   they were not present when Dennis was shot. (P&A [Doc. 13-1] 15:18–16:15.) The
24   Court agrees.4
25
26
     4
       Defendants argue Rose Dawson failed to exhaust her administrative remedies. (Reply [Doc. 16] 6:20–
27   23.) However, Rose Dawson is not identified as a plaintiff on the FAC’s caption, nor is she identified as
     a plaintiff in the body of the FAC.
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 1          In Thing v. La Chusa, 48 Cal. 3d 644 (1989), the California Supreme Court
 2   explained that “[i]n the absence of physical injury or impact to the plaintiff himself,
 3   damages for emotional distress should be recoverable only if the plaintiff . . . is present at
 4   the scene of the injury-producing event at the time it occurs and is then aware that it is
 5   causing injury to the victim . . . .” Id. at 647. Here, the FAC establishes that only the
 6   Defendant Officers, Rose Dawson and Dennis were present at the scene. (FAC ¶¶ 8–19.)
 7   Because Plaintiffs were not present, the FAC fails to state a claim for negligent inflictions
 8   of emotional distress.5
 9
10          D.      The FAC sufficiently pleads a wrongful-death claim against Officer
11                  Keyes.
12          Plaintiffs’ eighth cause of action is for wrongful death and is based on the
13   allegation that Defendants use of force against Dennis was excessive. Defendants raise
14   three arguments regarding this cause of action.
15          First, Defendants argue Officer Mendez, who fired his taser at the Dennis, is not
16   liable because “the Complaint does not describe the role of Officer Mendez in Decedent’s
17   death . . . .” (P&A 17:1–3.) The Court agrees.
18          In the FAC’s factual background, Plaintiffs allege the Dennis died as a result of the
19   guns shots, which constituted excessive force:
20          One of the Defendant police officers, realizing that deadly force was
            unnecessary fired his taser at Dennis and another officer fired six shots from
21
            his service revolver into the body of Dennis Carolino resulting in death. It is
22          unknown at this time which shot killed. Shooting and killing Dennis
            Carolino by firing six shots at him was excessive and deadly force because
23
24
     5
25     Plaintiffs also allege emotional-distress damages in the first (FAC ¶ 32), fourth (id. ¶ 46) and seventh
     (id. ¶ 59) causes of action, presumably in an effort to convert those survival claims into wrongful death
26   claims. Because Plaintiffs were not present at the scene, they cannot recover emotional distress
     damages under those causes of action. Moreover, because the emotional distress cause of action is
27   based on the same underlying conduct as the first, fourth and seventh causes of action, they are
     duplicative. For these additional reasons, dismissal of the first, fourth and seventh causes of action
28   without leave to amend is warranted.

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 1         he was not an immediate threat of inflicting serious bodily injury or death on
           either of the officers.
 2
 3   (FAC ¶ 18.) Similarly, under the wrongful-death cause of action, Plaintiffs allege only
 4   the shooting involved excessive force:
 5         Said shooting was unjustified and involved excessive and deadly force in
           violation of decedent’s above-alleged constitutional rights despite the fact
 6
           that the decedent did not pose an immediate threat of serious bodily injury or
 7         death to either officer. Dennis Carolino was unlawfully killed by Defendant
           police officers Mendez and Keyes when he was shot multiple times which
 8
           shooting directly and proximately caused his death.
 9
     (Id. ¶ 64.) Because the FAC does not allege Officer Mendez’s use of the taser constituted
10
     excessive force, the FAC fails to state a wrongful-death claim against him.
11
           Defendants next contend the officers are immune from liability because the
12
     shooting was justified. (Id. 17:6–24.) With regard to Officer Mendez, the Court agrees
13
     that he is entitled to qualified immunity given the FAC’s failure to allege he used
14
     excessive force against Dennis. As for Officer Keyes, the Court disagrees with
15
     Defendants’ argument.
16
           The wrongful-death cause of action is based at least in part on the contention that
17
     the officer used excess force against Dennis in violation of his Fourth Amendment rights.
18
     (See FAC ¶ 64.) In evaluating excessive-force claims, “courts ask ‘whether the officers’
19
     actions are ‘objectively reasonable’ in light of the facts and circumstances confronting
20
     them.” Glenn v. Washington County, 673 F.3d 864, 871 (9th Cir. 2011). This involves a
21
     balancing of “the nature and quality of the intrusion on the individual’s Fourth
22
     Amendment interests against the countervailing governmental interests at stake.”
23
     Graham v. Connor, 490 U.S. 386, 396 (1989). In Graham, 490 U.S. 386 (1989), the
24
     Supreme Court explained this requires an examination of the “facts and circumstances of
25
     each particular case, including the severity of the crime at issue, whether the suspect
26
     poses an immediate threat to the safety of the officers or others, and whether he is
27
     actively resisting arrest or attempting to evade arrest by flight.” Id at 396. Because the
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 1   determination is based on the totality of the circumstances, courts may also consider other
 2   factors relevant to the particular case. Mattos v. Agarano, 661 F.3d 433, 441, 451 (9th
 3   Cir. 2011); Davis v. City of Las Vegas, 478 F.3d 1048, 1054-57 (9th Cir. 2007)
 4   (recognizing that courts also examine the availability of alternatives to the amount of
 5   force used, and the mental and emotional state of the plaintiff). “Ultimately, ‘the most
 6   important’ Graham factor is whether the individual posed an ‘immediate threat to the
 7   safety of the officers or others.” Mattos, 661 F.3d at 441 (citation omitted).
 8         Here, the FAC provides few factual allegations relevant to the Graham analysis.
 9   Regarding the crime at issue, the FAC alleges Dennis’s aunt called the police because he
10   was “mentally ill, was off of his medications and had thrown a brick at her.” (FAC ¶ 8.)
11   The only other material allegations are that when Dennis was shot, officers mistakenly
12   believed he was holding a shovel and Dennis was “not within striking distance
13   approximately sixteen feet” away from the officers. (Id. ¶ 18.) Based on these
14   allegations, the Court cannot find that it was reasonable to shoot Dennis five or six times.
15   Although assault is a serious crime, there is nothing to suggest Dennis posed a serious
16   risk to the officers when he was shot and there are no allegations suggesting he was
17   actively resisting or attempting to flee. For these reasons, the FAC sufficiently states a
18   cause of action for wrongful death based on the use of excessive force against Officer
19   Keyes.
20
21         E.     Plaintiffs lack standing to pursue wrongful-death claims.
22         In their Reply, Defendants point out that in the document Plaintiffs filed in
23   response to the motion, Plaintiffs admit they do not know whether their mother is alive.
24   (Reply 7:20–22, citing D. Carolino Decl. ¶¶ 4, 5.) Plaintiffs’ admission contradicts the
25   allegation in the FAC that Plaintiffs are Dennis’s closest surviving relative and that
26   “Dennis’ mother and father are not living and had died prior to Decedent’s Dennis
27   Carolino’s death.” (FAC ¶¶ 32, 63.).
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 1         “A plaintiff seeking to bring a wrongful death claim bears the burden of pleading
 2   and proving his or her standing to do so.” Ferry v. De Longhi America Inc., 276
 3   F.Supp.3d 940, 945 (N.D. Cal. 2017) (quoting Soto v. BorgWarner Morse TEC Inc., 239
 4   Cal.App.4th 165, 188 (2015)). Under California law, a wrongful-death action may be
 5   brought by the decedent’s “heirs,” which means someone who was financially dependent
 6   on the decedent or the “decedent’s surviving spouse, domestic partner, children, and issue
 7   of deceased children, or, if there is no surviving issue of the decedent, the persons,
 8   including the surviving spouse or domestic partner, who would be entitled to the property
 9   of the decedent by intestate succession.” Cal.Code.Civ.Pro. §§ 377.60(a) and (b).
10         Here, Plaintiffs do not allege they were financially dependent on Dennis. And
11   based on Plaintiffs’ admission in the document filed in response to Defendants’ motion, it
12   is not clear the brothers are entitled to Dennis’s property by intestate succession. (See
13   Reply 7:3–8:6.) Additionally, because Plaintiffs have failed to file a meaningful
14   opposition, Plaintiffs have provided no authority suggesting that under the circumstances,
15   they are entitled to Dennis’s property under California law. Accordingly, the Court finds
16   Plaintiffs have failed to prove standing to pursue the wrongful-death claims.
17
18         F.     Leave to amend.
19         Defendants’ previous motion to dismiss argued Plaintiffs lacked standing to pursue
20   the survival and wrongful-death claims in the Complaint. As set forth in this Court’s
21   order granting Defendants’ motion, Plaintiffs did not dispute that the Complaint failed to
22   establish standing to pursue the wrongful-death claims and instead simply requested
23   leave to amend. (MTD Order 5:10–15.)
24         Despite being granted leave to amend, Plaintiffs have again failed to prove they
25   have standing to pursue the wrongful-death claims. However, because the standing issue
26   was raised in Defendants’ reply, arguably, Plaintiffs did not have an opportunity to
27   respond. Accordingly, in order to determine whether leave to amend would be futile, the
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 1   Court will order Plaintiffs’ counsel to provide briefing on whether Dennis’ brothers have
 2   standing given Plaintiffs’ admission that they do not know if their mother is alive.
 3
 4   IV.   CONCLUSION & ORDER
 5          For the foregoing reasons, the Court GRANTS Defendants’ motion [Doc. 13] and
 6   ORDERS Plaintiffs to file a brief addressing the standing issue raised in Defendants’
 7   Reply. Specifically, Plaintiffs shall address whether under California law they have
 8   standing to pursue wrongful-death claims on behalf of Dennis Carolino given that they do
 9   not know whether their mother is alive. Plaintiffs’ brief may not exceed five pages and
10   shall be filed on or before June 28, 2021. Defendants’ may file a response not to exceed
11   five pages on or before July 2, 2021. Upon submission of the above briefing, the Court
12   shall issue an order specifying whether the dismissal is with or without leave to amend.
13         Plaintiffs are cautioned that if they fail to timely file the above brief, the Court
14   will issue an order granting the motion to dismiss without leave to amend.
15         IT IS SO ORDERED.
16   Dated: June 21, 2021
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